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Case 2:05-cr-20251-SH|\/| Document 50 Filed 08/18/05 Page 1 of 2 Page|D 55
FlLED IN OPEN COURD

UNITED STATES DISTRICT COURT DATE£_, 03 'l@‘§
WESTERN DISTRICT OF TENNESSEE

 

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Western Divisioo rlME'-_`%Lu "J"_"_'
- iNrriALs.- 5
UNITED STATES OF AMERICA
-vs- Case No. 2:05cr20251-001D
ALANDUS T. LANE

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECTlONS REGARD|NG DETENTlON

ALANDUS T. LANE is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. ALANDUS T. LANE shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

/_____
Date: August 18, 2005 <:S. /AIMA~_S @L_

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

ome-iit entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 50 in
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Honorable Sarnuel Mays
US DISTRICT COURT

